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     Adam D. Fuller

     From:                                               Folland, Rob <Rob.Folland@btlaw.com>
     Sent:                                               Thursday, October 27, 2022 1:49 PM
     To:                                                 Justin M. Alaburda
     Cc:                                                 Victoria Ferrise; Adam D. Fuller; Dunham, Courtney; Paragas, David; DeVillers, David
     Subject:                                            EGCC / SRC Collaboration Agreement
     Attachments:                                        2022.10.27 _EGCC_Correspondence.pdf



     **External User**

     Please see the attached correspondence.

     Robert C. Folland I Partner
     Barnes & Thornburg LLP
     41 S. High Street Suite 3300, Columbus, OH 43215
     Direct: (614) 628-1429 I Mobile: (440) 213-3112

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                                                                                                                               DEFENDANT'S
                                                                                   EXHIBIT 3                               j     EXJBIT
    Case: 2:22-cv-02653-ALM-CMV Doc #: 109-5 Filed: 06/13/24 Page: 2 of 3 PAGEID #: 3422
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       Robert Folland
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       October 27, 2022

       VIA U.S. MAIL AND ELECTRONIC MAIL

      Justin Alaburda
       Brennan Manna Diamond
      250 Civic Center Drive, Suite 300
      Columbus, Ohio 43215
      jmalaburda@bmdllc.com
      330-253-9134


       Re:   Eastern Gateway Community College's Collaboration Agreement willt SRC

       Dear Mr. Alaburda,

      I write this letter because it has come to my attention that your client, Eastern Gateway Community
      College ("EGCC"), has reached out to Student Resource Center, LLC ("SRC"), requesting it to
      resume performance under the Collaboration Agreement in light of the court's Opinion and Order
      in Eastern Gateway Comnnm;ry College v. Cardona, Case No 2:22-cv-3326 (ECF No. 37) (the
      "DOE Litigation").

      As an initial matter, we note that this request for assistance demonstrates the frivolous nature of
      EGCC's Counterclaim in the pending litigation between SRC and EGCC. It is unclear how on the
      one hand, EGCC can maintain a Counterclaim that SRC's performance is so lacking that it
      "materially breached" several sections of the Collaboration Agreement, while on the other hand
      EGCC begs for the resumption of these exact same services now that EGCC's need for them has
      resumed. Please confirm that EGCC intends to dismiss these frivolous claims in light of its current
      requests for assistance.

      Separately, EGCC currently owes an outstanding balance of $832,285.81 in operating expenses
      previously submitted to EGCC on October 27, 2022 and an outstanding balance of $6,941,363.03
      in profit share amounts that was due and owing on September 30, 2022 pursuant to Exhibit B to
      the Collaboration Agreement. While EGCC contends that the amount of profit share owed is
      somehow less due to "errors in calculating the revenue attributable to the Program since 2015,"
      SRC's calculation is based off EGCC's own financial records. Moreover, despite SRC's requests,
      EGCC has failed to provide any documentation to support its claim. EGCC's actions constitute an
      ongoing material breach of the Collaboration Agreement. These amounts are wrongfully withheld
      and EGCC must reimburse SRC for its unpaid operating expenses and profit share amounts before
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  Case: 2:22-cv-02653-ALM-CMV Doc#: 39-4 Filed: 01/13/23 Page: 3 of 3 PAGEID #: 928


   Justin Alaburda
   October 27, 2022
   Page 2


   addressing EGCC's requests for support.

   Further, EGCC remains in default under Section 4.5 of the Collaboration Agreement resulting
   from its failure to keep the Free College Benefit program in compliance with applicable United
   States Department of Education rules, regulations, standards, and policies. As you are aware, the
   court's "Opinion and Order" does not resolve the substantive claims identified by the United States
   Department of Education in its July 18, 2022 letter to President Geoghegan, which indicated that
   EGCC's Free College Benefit program "violates the Title IV prohibition against assessing charges
   to Title IV recipients that are higher than those charges assessed to non-Title IV recipients." See
   (DOE Litigation ECF No. 1-1).

   Given the United States Department of Education's position, before SRC can consider further
   support of the Collaboration, EGCC must provide written assurance to SRC of its representations
   and warranties meted out under the Collaboration Agreement, including but not limited to EGCC's
   present compliance with all Governmental Authority or Educational Agency judgments, decrees,
   orders, statutes, rules, regulations, standards, or policies. EGCC must also agree to hold SRC
   harmless and provide indemnification. In addition, EGCC must provide written explanation of
   how it intends to address and resolve the concerns identified by the United States Department of
   Education's July 18, 2022 letter.

   I look forward to your response and cooperation,



                                                Very truly yours,




                                                Robert Folland


   cc:                           David Paragas, Esq. (via e-mail)
                                 Dave De Villers, Esq. (via e-mail)
                                 Jeff Bartolozzi, Esq, (via e-mail)
                                 Victoria Ferrise, Esq, (via e-mail)
                                 Adam Fuller, Esq. (via e-mail)
